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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :

       v.                                     :      Case No. 21-cr-537-JMC-3

PAUL RUSSELL JOHNSON, et al.,                 :

                        Defendants.           :

                          MOTION TO WITHDRAW AS COUNSEL

       Undersigned counsel files this Motion to Withdraw as Counsel. In support of this Motion,

undersigned counsel states the following:

             1. On April 12, 2021, Defendant Paull Russell Johnson was charged by a Complaint

with offenses related to the breach of the Capitol on January 6, 2021.

             2. On April 28, 2021, Kobie Flowers entered his appearance for Mr. Johnson. Monica

Basche subsequently entered her appearance for Mr. Johnson on May 27, 2021.

             3. Both Mr. Flowers and Ms. Basche are attorneys at Brown, Goldstein & Levy LLP.

             4. Mr. Flowers and Ms. Basche respectfully request the Court’s leave to withdraw as

counsel for Mr. Johnson for reasons that undersigned counsel cannot discuss because of counsel’s

on-going duty of loyalty to Mr. Johnson, the attorney-client privilege, and the work product

doctrine.

             5. Mr. Flowers and Ms. Basche respectfully request that the Court appoint counsel for

Mr. Johnson under the Criminal Justice Act. See D.D.C. L. Cr. R. 57.22.

             6. Trial is set for March 6, 2023 (Dkt. No. 155). Undersigned counsel will work with

subsequent counsel to guarantee both a smooth transfer and a continued serious defense of this

very important case.
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       WHEREFORE, undersigned counsel respectfully request that this Court grant this Motion

and withdraw the appearance of undersigned counsel.

Dated: July 7, 2022                       Respectfully submitted,



                                                       /s/
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                                          Counsel for Paul Russell Johnson




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                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that I caused a copy of this pleading was served on all counsel of

record via the Court’s electronic filing service.



                                                  /s/ Kobie Flowers
                                               Kobie Flowers


Date: July 7, 2022




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